USCA4 Appeal: 25-1018                  Doc: 89                  Filed: 01/23/2025                   Pg: 1 of 2




        January 23, 2025

        Nwamaka Anowi, Clerk
        U.S. Court of Appeals for the Fourth Circuit
        1100 East Main Street, Suite 501
        Richmond, Virginia 23219

        Via CM/ECF

        Re:        Justice Riggs’ Response to Judge                                                   Raymond M. Bennett
                   Griffin’s Rule 28(j) Letter, ECF No.                                               Samuel B. Hartzell
                   88-1, in Griffin v. North Carolina                                                 (919) 755-2100
                   State Board of Elections, Nos. 25-                                                 ray.bennett@wbd-us.com
                   1018(L), 25-1019, 25-1024                                                          sam.hartzell@wbd-us.com


        Dear Ms. Anowi:

               Judge Griffin is wrong to suggest that this Court “postpone oral argument and
        order supplemental briefing to address the impact of [the Supreme Court of North
        Carolina’s January 22, 2025] order on the merits of this appeal and this Court’s
        jurisdiction.” ECF No. 88-1. That Order is not a cause for delay; it clears the way for
        this Court to act and bolsters the case for expedited consideration.

                The Order simplifies this appeal. In his stay and merits briefing, Judge Griffin
        argues that there is “every reason to believe” that the North Carolina courts would
        refuse to honor a stay or reversal order, since they “have already expended judicial
        and party resources exercising their jurisdiction.” Griffin Opp’n Admin. Stay at 9,
        ECF No. 17; accord Griffin Br. at 42–47, ECF No. 87. The Supreme Court’s Order
        undermines both premises. First, the Supreme Court explicitly acknowledges this
        Court’s authority: “If the Fourth Circuit grants [a] stay or reverses the district court’s
        remand order, it will once again halt the statutory election protest process.” ECF No.
        88-2 at 10 (Newby, C.J., concurring). Second, Judge Griffin can no longer claim that
        proceedings are too far along in the Supreme Court for this Court to intervene. The
        Supreme Court has dismissed Judge Griffin’s petition after ordering a stay of
        certification that “should not be taken to mean that Judge Griffin will ultimately
        prevail on the merits.” JA337 (Allen, J., concurring).

              The Order could not affect this Court’s jurisdiction. The Order is not on the
        merits and thus could not be res judicata. And the Order could not moot this appeal
        because, at a minimum, the stay of certification remains. The parties retain a
        concrete interest in the outcome.


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USCA4 Appeal: 25-1018      Doc: 89        Filed: 01/23/2025     Pg: 2 of 2



        January 23, 2025
        Page 2


                The practical considerations favor resolution in this Court, the only forum
        where briefing is complete and oral argument is imminent. The Supreme Court’s
        first sitting is now less than three weeks away (on February 11). All agree that the
        parties and public have a strong interest in finality before that first sitting. Only this
        Court is placed to provide it.

                                                 Respectfully submitted,

                                                 Womble Bond Dickinson (US) LLP


                                                 /s/ Samuel B. Hartzell
                                                 Raymond M. Bennett
                                                 Samuel B. Hartzell

                                                 Counsel for Justice Allison Riggs


        cc:   Counsel of Record (via CM/ECF)
